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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              HOT SPRINGS DIVISION


JUSTIN SAVAGE, Individually and on                                               PLAINTIFF
Behalf of All Others Similarly Situated


vs.                                 No. 6:21-cv-6119-SOH


UNITY SURVEILLANCE, INC.,                                                      DEFENDANTS
and JONATHAN TERAUCHI


                      JOINT NOTICE OF LIABILITY SETTLEMENT
                         AND MOTION TO CONTINUE TRIAL


       Plaintiff Justin Savage and Defendants Unity Surveillance, Inc., and Jonathan

Terauchi, by and through their respective undersigned counsel, hereby jointly submit

the following Joint Notice of Liability Settlement and Motion to Continue Trial:

       1.      Plaintiff and Defendants have reached a liability-only settlement in

principle that will resolve Plaintiff’s alleged unpaid wages and liquidated damages.

       2.      The Parties are in the process of finalizing liability settlement documents

and expect to file their liability dismissal documents within 30 days.

       3.      If the Parties cannot agree on costs and a reasonable fee, Plaintiff will

submit a petition for an award of attorneys’ fees within 30 days of dismissal of Plaintiff’s

liability claims.

       4.      In its Final Scheduling Order dated November 18, 2021, the Court set a

bench trial in this case to begin on October 24, 2022. ECF No. 12.

       5.      In light of the settlement, the Parties request that all pending deadlines be

stayed and that the bench trial be continued and removed from the Court calendar for
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the October 24, 2022 setting.

       WHEREFORE, premises considered, Plaintiff and Defendants jointly request this

Court enter an Order continuing the trial currently scheduled for October 24, 2022, and

for all other necessary and proper relief.

                                                       Respectfully submitted,

                                                       PLAINTIFF JUSTIN SAVAGE

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                                              and      UNITY SURVEILLANCE, INC., and
                                                       JONATHAN TERAUCHI, DEFENDANTS

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